      Case 3:12-cv-01228-IEG-BLM Document 1 Filed 11/12/10 PageID.1 Page 1 of 5



1
     Todd M. Friedman (216752)
2    Darin Shaw (251037)
     Law Offices of Todd M. Friedman, P.C.
3
     369 S. Doheny Dr., #415
4    Beverly Hills, CA 90211
5
     Phone: 877 206-4741
     Fax: 866 633-0228
6    tfriedman@attorneysforconsumers.com
7    dshaw@attorneysforconsumers.com
     Attorney for Plaintiff
8

9

10                     UNITED STATES DISTRICT COURT
11
                  FOR THE EASTERN DISTRICT OF CALIFORNIA

12   ROBIN LANGLEY,                   )         Case No.
13                                    )
     Plaintiff,                       )         COMPLAINT FOR VIOLATION
14
                                      )         OF FEDERAL FAIR DEBT
15          vs.                       )         COLLECTION PRACTICES ACT
                                      )         AND ROSENTHAL FAIR DEBT
16
     CENTRAL CREDIT CONTROL,          )         COLLECTION PRACTICES ACT
17                                    )
18
     Defendant.                       )
     ________________________________ )
19

20
                                 I. INTRODUCTION
21
           1. This is an action for damages brought by an individual consumer for
22

23   Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
24
     §1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
25

26   Practices Act, Cal Civ Code §1788, et seq. (hereinafter “RFDCPA”), both of
27
     which prohibit debt collectors from engaging in abusive, deceptive, and unfair
28
     practices.


                                       Complaint - 1
      Case 3:12-cv-01228-IEG-BLM Document 1 Filed 11/12/10 PageID.2 Page 2 of 5



1
                                    II. JURISDICTION
2
           2.      Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
3

4                                     III. PARTIES
5
           3.      Plaintiff, Robin Langley (“Plaintiff”), is a natural person residing in
6

7    Sacramento county in the state of California, and is a “consumer” as defined by
8
     the FDCPA, 15 U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ Code
9
     §1788.2(h).
10

11         4.      At all relevant times herein, Defendant, Central Credit Control
12
     (“Defendant”) was a company engaged, by use of the mails and telephone, in the
13

14   business of collecting a debt from Plaintiff which qualifies as a “debt,” as defined
15
     by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal Civ Code
16

17
     §1788.2(f).    Defendant regularly attempts to collect debts alleged to be due

18   another, and therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C.
19
     §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).
20

21                           IV. FACTUAL ALLEGATIONS
22
           5.      At various and multiple times prior to the filing of the instant
23

24   complaint, including within the one year preceding the filing of this complaint,
25
     Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
26
           6.      Defendant has called Plaintiff, at home and at work, up to five times
27

28   a day, every day.



                                           Complaint - 2
      Case 3:12-cv-01228-IEG-BLM Document 1 Filed 11/12/10 PageID.3 Page 3 of 5



1          7.      Defendant has repeatedly failed to identify their corporate name or
2
     the name of the caller when placing calls to Plaintiff.
3

4          8.      Defendant has repeatedly failed to identify the reason for their calls
5
     to Plaintiff, or to identify themselves as a debt collector calling in an attempt to
6

7    collect an alleged debt from Plaintiff.
8
           9.      Defendant’s conduct violated the FDCPA and the RFDCPA in
9
     multiple ways, including but not limited to:
10

11              a) Communicating with Plaintiff at times or places which
12                 were known or should have been known to be
                   inconvenient for Plaintiff, including, but not limited to,
13
                   repeatedly calling Plaintiff at work (§1692c(a)(1));
14
                b) Causing Plaintiff’s telephone to ring repeatedly or
15
                   continuously with intent to harass, annoy or abuse
16                 Plaintiff, including, but not limited to, calling Plaintiff
17
                   up to five times a day, every day (§1692d(5));

18              c) Causing a telephone to ring repeatedly or continuously
19                 to annoy Plaintiff, including, but not limited to, calling
                   Plaintiff up to five times a day, every day (Cal Civ Code
20
                   §1788.11(d));
21

22
                d) Failing to disclose Defendant’s true corporate or
                   business name in a telephone call to Plaintiff, including,
23                 but not limited to, repeatedly calling Plaintiff and
24                 failing to identify Defendant’s name (§1692d(6));
25
                e) Placing (a) telephone call(s) to Plaintiff without
26                 disclosure of the caller's true identity or a registered
                   alias name along with the name of the agency
27
                   authorizing the call (Cal Civ Code §1788.11(b)); and
28




                                            Complaint - 3
      Case 3:12-cv-01228-IEG-BLM Document 1 Filed 11/12/10 PageID.4 Page 4 of 5



1                f) Communicating, by telephone or in person, with
2                   Plaintiff with such frequency as to be unreasonable and
                    to constitute an harassment to Plaintiff under the
3
                    circumstances, including, but not limited to, calling
4                   Plaintiff up to five times a day, every day (Cal Civ Code
5
                    §1788.11(e)).

6          10.      As a result of the above violations of the FDCPA and RFDCPA
7
     Plaintiff suffered and continues to suffer injury to Plaintiff’s feelings, personal
8

9    humiliation, embarrassment, mental anguish and emotional distress, and
10
     Defendant is liable to Plaintiff for Plaintiff’s actual damages, statutory damages,
11

12   and costs and attorney’s fees.
13
                          COUNT I: VIOLATION OF FAIR DEBT
14                          COLLECTION PRACTICES ACT
15
           11.      Plaintiff reincorporates by reference all of the preceding paragraphs.
16

17
                                   PRAYER FOR RELIEF
18         WHEREFORE, Plaintiff respectfully prays that judgment be entered
19
     against the Defendant for the following:
20

21                  A.     Declaratory judgment that Defendant’s conduct
22
                    violated the FDCPA;

23                  B.    Actual damages;
24                  C.    Statutory damages;
25                  D.    Costs and reasonable attorney’s fees; and,
26                  E.    For such other and further relief as may be just and proper.
27

28




                                            Complaint - 4
      Case 3:12-cv-01228-IEG-BLM Document 1 Filed 11/12/10 PageID.5 Page 5 of 5



1
                        COUNT II: VIOLATION OF ROSENTHAL
2                      FAIR DEBT COLLECTION PRACTICES ACT
3
           12.    Plaintiff reincorporates by reference all of the preceding paragraphs.
4

5
           13.    To the extent that Defendant’s actions, counted above, violated the

6    RFDCPA, those actions were done knowingly and willfully
7
                                 PRAYER FOR RELIEF
8

9          WHEREFORE, Plaintiff respectfully prays that judgment be entered
10
     against the Defendant for the following:
11

12                A.     Declaratory judgment that Defendant’s conduct
13                violated the RFDCPA;
14                B.     Actual damages;
15                C.     Statutory damages for willful and negligent violations;
16                D.     Costs and reasonable attorney’s fees,
17                E.     For such other and further relief as may be just and proper.
18

19
                 PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
20

21                Respectfully submitted this 12th day of November, 2010.
22
                                      By:     s/Todd M. Friedman_______
23                                            Todd M. Friedman (216752)
24
                                              Law Offices of Todd M. Friedman, P.C.
                                              369 S. Doheny Dr., #415
25                                            Beverly Hills, CA 90211
26                                            Phone: 877-206-4741
                                              Fax: 866-633-0228
27
                                              tfriedman@attorneysforconsumers.com
28                                            Attorney for Plaintiff



                                            Complaint - 5
